BURNS BAIR LLP                                            Objection Deadline: May 17, 2023
Timothy W. Burns, Esq. (admitted pro hac vice)
Jesse J. Bair, Esq. (admitted pro hac vice)
10 E. Doty St., Suite 600
Madison, WI 53703-3392
Telephone: (608) 286-2808
Email: tburns@burnsbair.com
Email: jbair@burnsbair.com
Special Insurance Counsel to the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                       Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                                Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


        TWENTY-NINTH MONTHLY FEE STATEMENT OF BURNS BAIR LLP,
      AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
       UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
           AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
                   MARCH 1, 2023 THROUGH MARCH 31, 2023

 Name of Applicant:                              Burns Bair LLP

 Authorized to Provide Professional              Official Committee of Unsecured Creditors
 Services to:
 Date of Retention:                              Effective October 29, 2020 pursuant to Order
                                                 dated December 9, 2020 [Docket No. 246]
 Period for which compensation and
                                                 March 1, 2023 – March 31, 2023
 reimbursement is sought:
 Amount of Compensation sought as actual,        $69,618.00
 reasonable, and necessary:                      80% of which is $55,694.40
 Amount of Expense Reimbursement sought
                                                 $0
 as actual, reasonable, and necessary:
 TOTAL (80% of fees and 100% of costs)           $55,694.40

This is the twenty-ninth monthly fee statement.



DOCS_LA:348889.1 18491/002
                                   PRELIMINARY STATEMENT

        Burns Bair LLP (“Burns Bair”), as Special Insurance Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New

York (the “Debtor”), hereby submits this twenty-ninth monthly statement (the “Monthly

Statement”) for the period from March 1, 2023 through March 31, 2023 (the “Statement Period”)

for payment of professional services rendered and reimbursement of expenses incurred during the

Statement Period pursuant to the Court’s Order Authorizing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals dated November 4, 2020 [Docket No. 129] (the

“Interim Compensation Order”).           Burns Bair requests interim allowance and payment of

compensation in the amount of $55,694.40 (80% of $69,618) for fees on account of reasonable

and necessary professional services rendered to the Committee by Burns Bair.

        FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

        1.       Set forth below is a list of the positions of the Burns Bair professionals and

paraprofessionals who provided services to the Committee during the Statement Period, their

respective billing rates, and the aggregate hours spent by each professional and paraprofessional

in providing services on behalf of the Committee during the Statement Period.

                                                                              Total
                                           Year of      Year of     Hourly                Total
          Name                 Title                                          Hours
                                         Partnership   Admission     Rate              Compensation
                                                                              Billed
Timothy Burns                 Partner       2008         1991        $975      24.19     $23,497.50
Jesse Bair                    Partner       2020         2013        $625      58.50     $36,562.50
Nathan Kuenzi                Associate      N/A          2020        $420       .20         $84.00
Brian Cawley                 Associate      N/A          2020        $420      18.10      $7,602.00
Leakhena Au                  Associate      N/A          2020        $420      3.60       $1,512.00
Alyssa Turgeon               Paralegal      N/A          N/A        $360.00     .20         $72.00
Brenda Horn-Edwards          Paralegal      N/A          N/A        $360.00     .80        $288.00
                                                                   TOTAL:     105.50     $69,618.00

        2.       The rates charged by Burns Bair for services rendered to the Committee are the

same rates that it charges generally for professional services rendered to its non-bankruptcy clients.




                                                   2
DOCS_LA:348889.1 18491/002
A complete itemization of tasks performed by these professionals and paraprofessionals for the

Statement Period is annexed hereto as Exhibit A.

                             NOTICE AND OBJECTION PROCEDURES

        3.       No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, Burns Bair has provided notice of this statement upon the

following parties by electronic or first class mail: (a) the Debtor c/o The Roman Catholic Diocese

of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn:

Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY

10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and

(c) the Office of the United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite

1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). Burns Bair submits

that no other or further notice need be provided.

        4.       Pursuant to the Interim Compensation Order, objections to this Monthly Statement,

if any, must be served upon the Application Recipients by May 17, 2023 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

        5.       If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay Burns Bair 80% of the fees and 100% of the expenses set forth

above. To the extent an objection to this Monthly Statement is timely made, the Debtor shall

withhold payment of that portion of the Monthly Statement to which the objection is directed and

promptly pay the remainder of the fees and disbursements in the percentages set forth above. To

the extent such objection is not resolved; it shall be preserved and presented to the Court at the

next interim or final fee application hearing.




                                                    3
DOCS_LA:348889.1 18491/002
Dated: May 2, 2023           BURNS BAIR LLP

                              /s/ Timothy W. Burns                        .




                             Timothy W. Burns, Esq. (admitted pro hac vice)
                             Jesse J. Bair, Esq. (admitted pro hac vice)
                             10 E. Doty St., Suite 600
                             Madison, WI 53703-3392
                             Telephone: (608) 286-2808
                             Email: tburns@burnsbair.com
                             Email: jbair@burnsbair.com

                             Special Insurance Counsel to the Official
                             Committee of Unsecured Creditors of The Roman
                             Catholic Diocese of Rockville Centre, New York




                              4
DOCS_LA:348889.1 18491/002
                             EXHIBIT A




DOCS_LA:348889.1 18491/002
                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.BurnsBair.com


The Official Committee of Unsecured Creditors of The                   Issue Date :      4/4/2023
Roman Catholic Diocese of Rockville Centre
                                                                             Bill # :      01099



Matter: Insurance

                            PROFESSIONAL SERVICES RENDERED


Date      Timekeeper     Narrative                                               Hours    Amount
3/1/2023 Jesse Bair    Review G. Greenwood correspondence with Diocese           0.10      $62.50
                       re proposed insurance preliminary injunction exhibits
                       (.1);
3/1/2023 Jesse Bair    Review recent New York state court decision re notice     0.30     $187.50
                       under the CVA (.2); review correspondence with PSZJ
                       re same (.1);
3/1/2023 Jesse Bair    Review correspondence with PSZJ and state court           0.10      $62.50
                       counsel re judicial mediator selection (.1);
3/1/2023 Jesse Bair    Listen to and respond to voice-message from Reed          0.10      $62.50
                       Smith re LMI district court action (.1);
3/1/2023 Jesse Bair    Review the Diocese's eighth omnibus claims objection      0.40     $250.00
                       (.4);
3/1/2023 Timothy Burns Review correspondence with PSZJ and state court           1.10    $1,072.50
                       counsel re potential mediation session (.2); review the
                       Diocese's eighth omnibus claims objection (.4); review
                       various correspondence between PSZJ and state court
                       counsel re judicial mediator selection (.3): review and
                       consider PSZJ memo re next steps re plan and
                       disclosure statement (.2);
3/2/2023 Jesse Bair    Review current version of Committee work-in-progress      0.10      $62.50
                       litigation list (.1);
3/2/2023 Jesse Bair    Participate in conference with PSZJ team re mediation     1.30     $812.50
                       and litigation strategy (1.3);
3/2/2023 Jesse Bair    Analysis re third-party release issue re Diocese Plan     0.30     $187.50
                       (.3);
3/2/2023 Jesse Bair    Begin reviewing draft of second amended Committee         0.20     $125.00
                       Plan (.2);
3/2/2023 Jesse Bair    Review Herman law firm response to the Diocese's          0.20     $125.00
                       fourth omnibus claims objection (.2);
3/2/2023 Jesse Bair    Review correspondence with B. Michael and state           0.10      $62.50
                       court counsel re updates re judicial mediator selection
                       (.1);
3/2/2023 Jesse Bair    Review draft letter to the Diocese re judicial mediator        0.10    $62.50
                       selection (.1):
3/2/2023 Jesse Bair    Review suggested edits from state court counsel to             0.10    $62.50
                       current draft of the Committee's objection to the
                       Diocese's preliminary injunction motion (.1);
3/2/2023 Jesse Bair    Review Marsh law firm response to the Diocese's                0.20   $125.00
                       fourth omnibus claims objection (.2);
3/2/2023 Jesse Bair    Review correspondence from the Diocese re proposed             0.10    $62.50
                       preliminary injunction insurance exhibits (.1);
3/3/2023 Jesse Bair    Participate in state court counsel meeting re mediation        0.90   $562.50
                       strategy (.9);
3/3/2023 Jesse Bair    Review draft Committee joint letter to the Court re            0.10    $62.50
                       estimation and judicial mediator selection (.1);
3/3/2023 Jesse Bair    Review B. Cawley's email memorandum re potential               0.10    $62.50
                       insurance impacts, if any, of certain claim objections
                       (.1);
3/3/2023 Jesse Bair    Review deposition outline for E. Stephens (.5); review         0.60   $375.00
                       correspondence with J. Stang and state court counsel
                       re same (.1);
3/3/2023 Jesse Bair    Review LMI and Interstate's letter to the Court re             0.10    $62.50
                       estimation and judicial mediator issue (.1);
3/3/2023 Timothy Burns Participate in state court counsel meeting re mediator         1.00   $975.00
                       selection, preliminary injunction, and ongoing case
                       issues (.9); participate in call with J. Bair and I. Nasatir
                       re preparations and strategy for upcoming Porter
                       deposition(.1);
3/3/2023 Jesse Bair    Review the Diocese's letter to the Committee re                0.10    $62.50
                       judicial mediator issues (.1);
3/3/2023 Jesse Bair    Participate in conference with I. Nasatir and T. Burns re      0.10    $62.50
                       preparations and strategy for upcoming Porter
                       deposition (.1);
3/3/2023 Jesse Bair    Review the Debtor's reply in support of its 4th omnibus        0.30   $187.50
                       claims objection (.3);
3/4/2023 Jesse Bair    Correspondence with G. Greenwood re potential                  0.20   $125.00
                       additional insurance-related preliminary injunction
                       exhibits and the Diocese's proposed edits to the
                       existing insurance schedules (.2);
3/4/2023 Jesse Bair    Analysis regarding the Diocese's suggested edits to            0.30   $187.50
                       the Committee's proposed preliminary injunction
                       insurance exhibits (.3);
3/4/2023 Jesse Bair    Analysis regarding potential insurance edit to the             0.10    $62.50
                       Committee's preliminary injunction opposition brief (.1);
3/4/2023 Jesse Bair    Analysis re potential additional insurance-related             0.30   $187.50
                       preliminary injunction exhibits proposed by the Diocese
                       (.3);
3/4/2023 Jesse Bair    Review and edit BB's seventh interim fee application           0.90   $562.50
                       (.9);
3/4/2023 Timothy Burns Review correspondence with the Diocese and PSZJ re          0.20    $195.00
                       preliminary injunction hearing exhibits (.1); review the
                       parties' letters to the court re judicial mediator issue
                       (.1);
3/4/2023 Jesse Bair    Analysis regarding Porter deposition strategy (.1);         0.10     $62.50
3/4/2023 Jesse Bair    Review correspondence with the Diocese and G.               0.20    $125.00
                       Greenwood re proposed insurance preliminary
                       injunction exhibits and suggested edits to same (.2);
3/5/2023 Jesse Bair    Correspondence with B. Horn re edits needed to BB's         0.10     $62.50
                       seventh interim fee application (.1);
3/5/2023 Jesse Bair    Review initial Claro insurance questions in preparation     0.30    $187.50
                       for upcoming call (.2); correspondence with A. Kornfeld
                       re same (.1);
3/5/2023 Timothy Burns Review correspondence with the Diocese and PSZJ re          0.30    $292.50
                       preliminary injunction hearing exhibits (.2); review J.
                       Cronan's order re discovery dispute (.1);
3/6/2023 Jesse Bair    Review and respond to additional insurance question         0.20    $125.00
                       received from Claro (.2);
3/6/2023 Jesse Bair    Review initial draft of proposed K. Porter deposition       0.80    $500.00
                       outline (.8);
3/6/2023 Jesse Bair    Analyze the Arrowood policies re retroactive premium        0.70    $437.50
                       adjustment (.3); analyze case law re enforceability, if
                       any, of retroactive premium adjustment in bankruptcy
                       (.4);
3/6/2023 Jesse Bair    Begin drafting revised version of the Porter deposition     0.50    $312.50
                       outline, including review of prior Porter declarations
                       (.5);
3/6/2023 Jesse Bair    Participate in portion of Committee meeting re ongoing      0.60    $375.00
                       case issues (.6);
3/6/2023 Jesse Bair    Review the Diocese's letter to the Court re the             0.10     $62.50
                       Committee's claim objection adjournment request (.1);
3/6/2023 Jesse Bair    Prepare for call with Claro re insurance allocation         1.10    $687.50
                       analysis (.1); participate in call with Claro and PSZJ re
                       insurance allocation analysis and outstanding
                       questions re same (1.0);
3/6/2023 Jesse Bair    Participate in call with Reed Smith re case insurance       0.20    $125.00
                       issues (.2);
3/6/2023 Timothy Burns Review and revise initial draft of Porter deposition        1.70   $1,657.50
                       outline (.7); correspondence with J. Bair re same (.1);
                       begin review of Moore deposition transcript (.9);
3/6/2023 Jesse Bair    Analyze and respond to Claro questions re applicable        0.30    $187.50
                       policy limits (.3);
3/7/2023 Jesse Bair    Participate in call with G. Greenwood re the preliminary    0.30    $187.50
                       injunction insurance schedules and potential exhibits
                       for the Porter deposition (.3);
3/7/2023 Jesse Bair    Prepare for Porter deposition, including drafting           3.20   $2,000.00
                       revised Porter depo outline and analyzing related case
                       materials, including Diocesan PI discovery responses,
                       earlier Porter declarations, and associated case
                       briefing (3.2);
3/7/2023 Jesse Bair    Review revised preliminary injunction insurance               0.60    $375.00
                       schedules received from the Diocese (.2); participate
                       in call with the Diocese, G. Greenwood, and I. Nasatir
                       re same and potential additional revisions (.3);
                       participate in follow-up call with I. Nasatir re same (.1);
3/7/2023 Jesse Bair    Review and respond to correspondence with PSZJ                0.20    $125.00
                       team re strategy and preparations for upcoming Porter
                       depositions (.2);
3/8/2023 Jesse Bair    Review K. Dine email memorandum re mediation                  0.10     $62.50
                       session outcome and related follow-up items (.1);
3/8/2023 Timothy Burns Participate in conference with J. Bair re mediation           0.30    $292.50
                       session outcome and potential next-steps (.2);
                       supplemental analysis re going-forward insurance
                       strategy (.1);
3/8/2023 Jesse Bair    Review correspondence from K. Dine re upcoming                0.10     $62.50
                       status conference with the Court re mediation and
                       claim objection process (.1);
3/8/2023 Jesse Bair    Review correspondence from E. Stephens re further             0.30    $187.50
                       revised preliminary injunction insurance schedules from
                       the Diocese (.1); review proposed insurance schedules
                       (.1); draft correspondence to PSZJ and T. Burns re
                       additional edits needed to same (.1);
3/8/2023 Jesse Bair    Draft correspondence to the Diocese re potential              0.30    $187.50
                       additional edits to the revised preliminary injunction
                       insurance schedules (.2); additional correspondence
                       with G. Greenwood re finalizing insurance schedules
                       (.1);
3/8/2023 Jesse Bair    Continue preparing for Porter deposition, including           5.00   $3,125.00
                       drafting revised Porter depo outline, analyzing related
                       case materials, and identifying potential exhibits for
                       deposition (5.0);
3/8/2023 Jesse Bair    Participate in call with I. Nasatir re mediation session      0.30    $187.50
                       outcome and upcoming Porter deposition (.3);
3/8/2023 Jesse Bair    Review and respond to correspondence with G.                  0.30    $187.50
                       Greenwood re Porter deposition exhibits (.3);
3/8/2023 Jesse Bair    Participate in conference with T. Burns re mediation          0.20    $125.00
                       session outcome and potential next-steps (.2);
3/8/2023 Jesse Bair    Review correspondence from B. Michael re potential            0.10     $62.50
                       motion to dismiss and associated research results (.1);
3/9/2023 Jesse Bair    Review correspondence from B. Michael re upcoming             0.10     $62.50
                       claim objection hearing (.1);
3/9/2023 Jesse Bair    Participate in conference with T. Burns re outcome of         0.20    $125.00
                       court status conference and Porter deposition (.2);
3/9/2023 Jesse Bair    Participate in conference with T. Burns re status of the      0.20    $125.00
                       insurance adversary proceedings and judicial mediator
                       issue (.2);
3/9/2023 Jesse Bair    Participate in conference with T. Burns re recent call        0.10     $62.50
                       with Reed Smith re case insurance issues (.1);
3/9/2023 Jesse Bair    Review the Diocese's supplemental preliminary                 0.40    $250.00
                       injunction discovery responses and document
                       production (.4);
3/9/2023 Jesse Bair     Continue preparing for Porter deposition (.4);               0.40    $250.00
3/9/2023 Jesse Bair     Review correspondence with G. Greenwood and the              0.10     $62.50
                        Diocese re finalizing the preliminary injunction
                        insurance schedules (.1);
3/9/2023 Jesse Bair     Participate in conference with PSZJ team and T. Burns        1.60   $1,000.00
                        re mediation strategy, potential motion to dismiss, and
                        other ongoing case issues (1.6);
3/9/2023 Jesse Bair     Participate in call with I. Nasatir re outcome of Porter     0.20    $125.00
                        deposition (.2);
3/9/2023 Jesse Bair     Conduct deposition of K. Porter (2.8);                       2.80   $1,750.00
3/9/2023 Timothy Burns Correspondence with B. Michael and J. Bair re court           4.90   $4,777.50
                        conference re judicial mediator (.2); review
                        correspondence with the Diocese and PSZJ re
                        supplemental discovery materials from Diocese (.2);
                        review and analysis of email from K. Dine re mediation
                        summary (.2); review correspondence from B. Michael
                        re Diocese's SOL argument (.1); review Diocese
                        monthly PSIP information report (.1): conference with J.
                        Bair re preparations for judicial mediator conference
                        with J. Glenn (.2): conference with J. Bair re recent call
                        with Reed Smith (.1); prepare for conference with court
                        re judicial mediator, including review of emails re same
                        (.2); meet with team re hearing logistics (.1); review of
                        Diocese's supplemental discovery responses,
                        including review of attached exhibits (Ecclesia policy
                        and Arrowood financial reporting information) (.8);
                        attend virtual chambers conference for insurance
                        purposes (.6); emails and call from state court counsel
                        re case and resolution strategy (.3); review
                        correspondence from PSZJ re upcoming claims
                        objections hearing (.1); conference with J. Bair re
                        Porter deposition and Chambers conference outcome
                        (.2); participate in portion of meeting with PSZJ and J.
                        Bair re next steps re bankruptcy for insurance purposes
                        (1.5);
3/10/2023 Jesse Bair    Correspondence with B. Michael re BB's seventh               0.10     $62.50
                        interim fee application (.1);
3/10/2023 Jesse Bair    Review monthly PSIP information provided by the              0.10     $62.50
                        Diocese (.1);
3/10/2023 Jesse Bair    Review correspondence with the Diocese re finalizing         0.20    $125.00
                        the preliminary injunction insurance exhibits (.1); review
                        proposed final versions of the exhibits (.1);
3/10/2023 Jesse Bair    Review correspondence from Arrowood re Arrowood's            0.10     $62.50
                        request to attend preliminary injunction depositions (.1);
3/10/2023 Jesse Bair    Review draft stipulation and order re the admissibility      0.10     $62.50
                        of preliminary injunction exhibits (.1);
3/11/2023 Jesse Bair    Review correspondence with K. Brown re potential             0.10     $62.50
                        edits to the preliminary injunction opposition brief (.1);
3/11/2023 Timothy Burns Review Agenda for March 14 Hearing (.1); review              0.30    $292.50
                        stipulation and order regarding admissibility of
                        preliminary injunction exhibits (.1); review Arrowood
                        correspondence re deposition attendance request (.1);
3/13/2023 Jesse Bair       Review the Debtor's reply in support of its fifth omnibus   0.30    $187.50
                           claims objection (.3);
3/13/2023 Jesse Bair       Review debtor reply brief in support of cell tower sale     0.10     $62.50
                           (.1);
3/13/2023 Jesse Bair       Correspondence with I. Nasatir and K. Brown re error        0.20    $125.00
                           in the Porter dispositions transcript (.1);
                           correspondence with the Debtor re correcting same
                           (.1);
3/13/2023 Nathan Kuenzi    Participate in BB team meeting re case status and           0.10     $42.00
                           ongoing projects (.1);
3/13/2023 Jesse Bair       Review correspondence from B. Michael re upcoming           0.10     $62.50
                           Committee meeting (.1);
3/13/2023 Leakhena Au      Participate in BB team meeting re case status and           0.10     $42.00
                           ongoing projects (.1);
3/13/2023 Alyssa Turgeon   Participate in BB team meeting re case status and           0.10     $36.00
                           ongoing projects (.1);
3/13/2023 Timothy Burns    Participate in state court counsel meeting for insurance    0.90    $877.50
                           purposes re ongoing case issues (.8); participate in
                           BB team meeting re case status and ongoing projects
                           (.1);
3/13/2023 Jesse Bair       Participate in BB team meeting re case status and           0.10     $62.50
                           ongoing projects (.1);
3/13/2023 Jesse Bair       Review additional correspondence with G. Greenwood,         0.10     $62.50
                           K. Dine, and B, Michael re finalization of preliminary
                           injunction opposition brief (.1);
3/13/2023 Jesse Bair       Review suggested insurance edit to the Committee's          0.40    $250.00
                           preliminary injunction opposition brief received from I.
                           Nasatir (.1); review and respond to correspondence
                           with G. Greenwood and I. Nasatir re same and final
                           additional insurance edits to the Committee's
                           preliminary injunction opposition brief (.3);
3/13/2023 Jesse Bair       Review and edit most recent draft of the Committee's        1.20    $750.00
                           preliminary injunction opposition brief, including
                           incorporating excerpts from the recent Porter
                           deposition (1.2);
3/13/2023 Jesse Bair       Participate in state court counsel meeting for insurance    0.80    $500.00
                           purposes re ongoing case issues (.8);
3/14/2023 Jesse Bair       Correspondence with G. Greenwood re supplemental            0.10     $62.50
                           insurance edit to the Committee preliminary injunction
                           opposition brief (.1);
3/14/2023 Timothy Burns    Review agenda for March 14 hearing (.1); attend court       2.80   $2,730.00
                           hearing on claim objections, cell tower sale, and status
                           conference to assess insurance-related settlement
                           issues (2.7);
3/14/2023 Jesse Bair       Review correspondence with J. Stang, K. Dine, and           0.20    $125.00
                           state court counsel re status conference outcome and
                           potential next-steps (.2);
3/14/2023 Jesse Bair       Review and edit Porter deposition exhibit to the            0.30    $187.50
                           Committee preliminary injunction opposition brief (.3);
3/14/2023 Jesse Bair    Attend court hearing on claim objections, cell tower         2.70   $1,687.50
                        sale, and status conference to assess insurance-
                        related settlement issues (2.7);
3/14/2023 Jesse Bair    Review additional correspondence with G. Greenwood           0.10     $62.50
                        and I. Nasatir re final insurance edits to the
                        Committee's preliminary injunction opposition brief (.1);
3/15/2023 Timothy Burns Review correspondence with state court counsel,              0.20    $195.00
                        PSZJ, and the Committee re status conference
                        outcome and potential next-steps (.2);
3/16/2023 Jesse Bair    Review revised version of preliminary injunction             0.30    $187.50
                        evidentiary stipulation received from the Diocese (.1);
                        correspondence with K. Brown, G. Greenwood, and I.
                        Nasatir re same (.1); review additional correspondence
                        with the Diocese re same (.1);
3/16/2023 Jesse Bair    Participate in call with J. Stang re status of the           0.30    $187.50
                        insurance district court actions and overall insurance
                        strategy (.3);
3/16/2023 Jesse Bair    Review and respond to correspondence with J. Stang           0.20    $125.00
                        re Evanston district court status update letter (.2);
3/16/2023 Jesse Bair    Draft proposed language for Evanston district court          0.30    $187.50
                        status update letter re the current status of the case and
                        mediation negotiations (.3);
3/16/2023 Jesse Bair    Review insurer exposure analysis (.1); assess potential      0.20    $125.00
                        next-steps in connection with insurance negotiations
                        (.1);
3/16/2023 Jesse Bair    Review draft status update letter circulated by the          0.40    $250.00
                        Diocese (.1); correspond with the Diocese re
                        suggested edits to same (.1); review revised version of
                        the status update letter for the Evanston district court
                        action (.1); review correspondence with Evanston re
                        same (.1);
3/16/2023 Jesse Bair    Review and respond to correspondence with the                0.20    $125.00
                        Diocese re joint status letter due in the Evanston
                        district court action (.2);
3/17/2023 Jesse Bair    Review correspondence with PSZJ and state court              0.10     $62.50
                        counsel re final version of preliminary injunction
                        opposition brief and next-steps (.1);
3/17/2023 Jesse Bair    Review Evanston's suggested edits to the draft joint         0.10     $62.50
                        status update letter (.1);
3/17/2023 Jesse Bair    Review correspondence from B. Michael to state court         0.10     $62.50
                        counsel re case update (.1);
3/17/2023 Timothy Burns Review joint status update letter to court in Evanston       0.10     $97.50
                        adversary proceeding (.1);
3/17/2023 Jesse Bair    Review draft joinder in support of the Committee's           0.10     $62.50
                        preliminary injunction opposition brief (.1);
3/18/2023 Jesse Bair    Review correspondence with K. Dine and the                   0.10     $62.50
                        Committee re preliminary injunction briefing issues (.1);
3/21/2023 Jesse Bair    Correspondence with E. Stephens re edit to the Porter        0.10     $62.50
                        deposition transcript (.1);
3/21/2023 Brenda Horn   Draft BB's twenty-eighth monthly fee statement (.6);       0.80   $288.00
                        generate and edit Exhibit A to same (.1); correspond
                        with J. Bair re same (.1);
3/21/2023 Jesse Bair    Provide instructions to B. Cawley re supplemental          0.20   $125.00
                        research needed re the insurers' purported late notice
                        defense (.1); review B. Cawley email memorandum
                        summarizing supplemental research results (.1);
3/21/2023 Jesse Bair    Review correspondence with B. Michael re Committee         0.10    $62.50
                        motion to dismiss (.1);
3/21/2023 Timothy Burns Participate in conference with J. Bair re case insurance   0.30   $292.50
                        strategy (.3);
3/21/2023 Brian Cawley Analysis re the ability of an injured party to provide      2.00   $840.00
                        notice instead of a policyholder under New York
                        Insurance Law Section 3420 (1.8); draft summary of
                        Section 3420 research (.2);
3/21/2023 Jesse Bair    Participate in conference with T. Burns re case            0.30   $187.50
                        insurance strategy (.3);
3/22/2023 Jesse Bair    Review the Parishes' response to the Committee's           0.40   $250.00
                        claim objections (.3); review related appendix re PSIP
                        issues (.1);
3/22/2023 Timothy Burns Analysis and consideration of claimant notice issue        0.50   $487.50
                        under New York Insurance Law Section 3420 (.3);
                        conference with J. Bair re same (.1); correspond with J.
                        Bair re same (.1);
3/22/2023 Jesse Bair    Review and respond to questions from state court           0.20   $125.00
                        counsel re additional insured issues (.2);
3/22/2023 Jesse Bair    Respond to T. Burns correspondence re the insurers'        0.20   $125.00
                        purported late notice defense and supplemental
                        research needed in connection with same (.1);
                        participate in conference with T. Burns re same (.1);
3/22/2023 Jesse Bair    Review the Diocese's reply in support of its sixth         0.40   $250.00
                        omnibus claims objection (.4);
3/23/2023 Jesse Bair    Analyze LMI's answer and affirmative defenses in the       0.40   $250.00
                        LMI district court action (.4);
3/23/2023 Leakhena Au Participate in BB team meeting re case status and            0.10    $42.00
                        ongoing projects (.1);
3/23/2023 Jesse Bair    Participate in call with J. Stang re the Committee's       0.30   $187.50
                        motion to dismiss, case status, and related insurance
                        issues (.3);
3/23/2023 Jesse Bair    Analyze and respond to questions from state court          0.30   $187.50
                        counsel re historical Diocesan insurance issues (.3);
3/23/2023 Jesse Bair    Review recent appellate decision re Diocesan liability     0.10    $62.50
                        for CVA claims (.1);
3/23/2023 Jesse Bair    Participate in BB team meeting re case developments        0.10    $62.50
                        and associated projects (.1);
3/23/2023 Brian Cawley Additional research re claimant notice requirements         0.40   $168.00
                        under New York Insurance Law Section 3420 (.3); draft
                        summary of research findings (.1);
3/23/2023 Timothy Burns Participate in BB team meeting re case developments        0.10    $97.50
                        and associated projects (.1);
3/23/2023 Jesse Bair     Review correspondence with I. Nasatir and BRG re           0.10     $62.50
                         PSIP issues (.1);
3/23/2023 Brian Cawley Participate in BB team meeting re case developments          0.10     $42.00
                         and associated projects (.1);
3/23/2023 Jesse Bair     Provide instructions to L. Au re additional insured        0.10     $62.50
                         analysis needed in connection with the Committee's
                         motion to dismiss (.1);
3/23/2023 Alyssa Turgeon Participate in BB team meeting re case developments        0.10     $36.00
                         and associated projects (.1);
3/23/2023 Jesse Bair     Begin reviewing and editing the Committee's motion to      0.50    $312.50
                         dismiss (.5);
3/23/2023 Jesse Bair     Review correspondence with K. Dine, I. Nasatir. and K.     0.10     $62.50
                         Brown re potential edits to the draft motion to dismiss
                         (.1);
3/23/2023 Jesse Bair     Analyze Lexington's answer and affirmative defenses in     0.20    $125.00
                         the LMI district court action (.2);
3/23/2023 Nathan Kuenzi Participate in BB team meeting re case developments         0.10     $42.00
                         and associated projects (.1);
3/24/2023 Jesse Bair     Review correspondence with B. Michael and state            0.10     $62.50
                         court counsel re potential judicial mediator candidate
                         (.1);
3/24/2023 Timothy Burns Review the Committee's draft motion to dismiss (.9);        2.50   $2,437.50
                         participate in state court counsel meeting re ongoing
                         case issues and strategy (.7); review email from B.
                         Michael re potential judicial mediator (.1); review
                         agenda for March 28 court hearing (.1); review recent
                         1st Dept appellate decision re Diocesan liability for
                         CVA claims (.1); review Marsh plaintiffs Joinder to
                         Objection to Injunction Motion (.1); review and consider
                         B. Cawley research results re notice issues under New
                         York Insurance Law Section 3420 (.2); review
                         correspondence with PSZJ and state court counsel re
                         motion to dismiss (.1); review correspondence with
                         PSZJ and BRG re PSIP issues (.1); review K. Dine's
                         suggested edits to the draft motion to dismiss (.1);
3/24/2023 Leakhena Au Conduct supplemental additional insured analysis              3.40   $1,428.00
                         needed in connection with motion to dismiss briefing
                         (3.4);
3/24/2023 Jesse Bair     Review survivor response to the Diocese's 9th              0.20    $125.00
                         omnibus claims objection (.2);
3/24/2023 Jesse Bair     Analyze L. Au research results re supplemental             0.40    $250.00
                         additional insured analysis completed in connection
                         with motion to dismiss briefing (.2); review Diocese
                         Plan terms and exhibits in relation to same (.2);
3/24/2023 Jesse Bair     Edit and revise the Committee's motion to dismiss          1.20    $750.00
                         brief with focus on insurance-related edits (1.2);
3/24/2023 Jesse Bair     Participate in state court counsel meeting re ongoing      0.70    $437.50
                         case issues and strategy (.7);
3/24/2023 Jesse Bair     Review second survivor response to the Diocese's 9th       0.20    $125.00
                         omnibus claims objection (.2);
3/24/2023 Jesse Bair    Correspondence with G. Greenwood re preliminary              0.10     $62.50
                        injunction hearing preparations (.1);
3/24/2023 Jesse Bair    Review and respond to correspondence with L. Au re           0.20    $125.00
                        supplemental additional insured analysis needed in
                        connection with motion to dismiss briefing (.2);
3/25/2023 Jesse Bair    Review letter from the Committee to the Diocese re           0.10     $62.50
                        recent appellate decision impacting the Diocese's
                        claims objections (.1);
3/25/2023 Jesse Bair    Review correspondence from K. Brown and G.                   0.10     $62.50
                        Greenwood re preliminary injunction hearing evidence
                        (.1);
3/26/2023 Jesse Bair    Analysis re insurance-related evidence for use during        0.20    $125.00
                        the preliminary injunction hearing (.1); correspondence
                        with K, Brown and G. Greenwood re same (.1);
3/26/2023 Jesse Bair    Review correspondence from state court counsel re            0.10     $62.50
                        recent appellate decision impacting the Diocese's
                        claim objections (.1);
3/26/2023 Timothy Burns Participate in calls with state court counsel re insurance   0.50    $487.50
                        issues and strategy (.5);
3/27/2023 Jesse Bair    Review final version of the Committee's motion to            0.10     $62.50
                        dismiss (.1);
3/27/2023 Jesse Bair    Review correspondence from the Diocese re its refusal        0.10     $62.50
                        to withdraw its 6th omnibus claims objection in light of
                        recent appellate decision (.1);
3/27/2023 Jesse Bair    Review the Committee's motion to stay (.2);                  0.20    $125.00
3/27/2023 Jesse Bair    Review correspondence with G. Greenwood and the              0.10     $62.50
                        Diocese re preliminary injunction exhibits and evidence
                        (.1);
3/27/2023 Jesse Bair    Participate in conference with T. Burns re potential         0.20    $125.00
                        claims against the Diocese's insurers and related
                        Arrowood issues (.2);
3/27/2023 Jesse Bair    Review the parties' joint correspondence to the Court        0.10     $62.50
                        re potential judicial mediator (.1);
3/27/2023 Timothy Burns Participate in conference with J. Bair re potential          0.50    $487.50
                        claims against the Diocese's insurers and related
                        Arrowood issues (.2); participate in call with state court
                        counsel re same (.3);
3/27/2023 Jesse Bair    Review correspondence with J. Stang, B. Michael, and         0.10     $62.50
                        state court counsel re next-steps re the Committee's
                        motion to dismiss (.1);
3/28/2023 Jesse Bair    Review agenda for Committee meeting (.1); participate        1.50    $937.50
                        in Committee meeting re ongoing case issues for
                        insurance purposes (1.4);
3/28/2023 Jesse Bair    Review Porter errata sheet (.1);                             0.10      $62.50
3/28/2023 Jesse Bair    Participate in meeting with PSZJ and state court             1.70   $1,062.50
                        counsel re motion to dismiss and going-forward case
                        strategy (1.0); participate in post-call meeting with
                        PSZJ team and T. Burns re same (.7);
3/28/2023 Timothy Burns Conference with J. Bair re ongoing developments and          0.20    $195.00
                        strategy on insurance (.2);
3/28/2023 Jesse Bair    Attend hearing on claims objections for insurance          1.60   $1,000.00
                        purposes (1.6);
3/28/2023 Jesse Bair    Review correspondence with J. Stang and state court        0.10     $62.50
                        counsel re motion to dismiss issues (.1);
3/28/2023 Brian Cawley Begin analyzing recent BSA district court opinion re        1.50    $630.00
                        issues implicating DRVC action (1.5);
3/28/2023 Jesse Bair    Conference with T. Burns re ongoing developments and       0.20    $125.00
                        strategy on insurance (.2);
3/28/2023 Jesse Bair    Provide instructions to B. Cawley re analysis needed in    0.10     $62.50
                        connection with recent BSA decision re ongoing issues
                        in DRVC case (.1);
3/28/2023 Timothy Burns Attend hearing on claims objections for insurance          4.80   $4,680.00
                        purposes (1.6); participate in meeting with PSZJ and
                        state court counsel re motion to dismiss and going-
                        forward case strategy (1.0); participate in post-call
                        meeting with PSZJ team and J. Bair re same (.7);
                        review correspondence from state court counsel re
                        joinders in motion to dismiss (.1); participate in
                        Committee meeting re ongoing case issues for
                        insurance purposes (1.4);
3/28/2023 Jesse Bair    Analysis re potential motion to dismiss insurance-         0.10     $62.50
                        related discovery (.1);
3/29/2023 Jesse Bair    Review draft preliminary injunction exhibit list and and   0.30    $187.50
                        consider potential additions to same (.2);
                        correspondence with G. Greenwood and K. Brown re
                        same (.1);
3/29/2023 Jesse Bair    Review the Diocese's reply in support of its eighth        0.40    $250.00
                        omnibus claims objection (.4);
3/29/2023 Jesse Bair    Review notice of hearing re seventh interim fee            0.10     $62.50
                        applications (.1);
3/29/2023 Brian Cawley Continue analyzing detailed BSA district court opinion      4.60   $1,932.00
                        re issues implicating DRVC action (4.6);
3/29/2023 Jesse Bair    Review the Committee's reply in support of its parish      0.10     $62.50
                        and affiliate claim objections (.1);
3/29/2023 Jesse Bair    Additional analysis re insurance-related motion to         0.10     $62.50
                        dismiss issues (.1);
3/29/2023 Jesse Bair    Review correspondence with J. Stang, state court           0.20    $125.00
                        counsel, and the Committee re motion to stay issues
                        (.2);
3/29/2023 Jesse Bair    Review materials re recent Diocesan insurance              0.10     $62.50
                        activities (.1);
3/30/2023 Jesse Bair    Participate in conference with PSZJ team and T. Burns      0.60    $375.00
                        re ongoing case issues and next-steps (.6);
3/30/2023 Jesse Bair    Participate in call with T. Burns re insurance issues in   0.20    $125.00
                        connection with potential upcoming mediation (.2);
3/30/2023 Brian Cawley Continue analyzing detailed BSA district court opinion      2.80   $1,176.00
                        re issues implicating DRVC action (2.8);
3/30/2023 Jesse Bair    Review Judge Glenn's pre-trial conference order                0.30     $187.50
                        template (.1); review correspondence with G.
                        Greenwood and K. Brown re preparing same (.1);
                        review correspondence with G. Greenwood and the
                        Diocese re same (.1);
3/30/2023 Jesse Bair    Review the Court's Order sustaining the Diocese's 4th          0.50     $312.50
                        omnibus claims objection (.5);
3/30/2023 Jesse Bair    Review analysis of insurance exposures in connection           0.10      $62.50
                        with potential upcoming mediation session (.1);
3/30/2023 Jesse Bair    Answer B. Cawley questions re project re analysis of           0.20     $125.00
                        recent BSA decision in connection with insurance
                        issues relevant to the DRVC case (.2);
3/30/2023 Jesse Bair    Review the parties' joint letter to the Court requesting       0.10      $62.50
                        stay of proceedings (.1);
3/30/2023 Jesse Bair    Review correspondence with G. Greenwood and the                0.10      $62.50
                        Diocese re preliminary injunction exhibit list issues (.1);
3/30/2023 Timothy Burns Review correspondence with PSZJ and state court                0.70     $682.50
                        counsel re court rulings and mediation (.2); participate
                        in call with J. Bair re insurance issues in connection
                        with potential upcoming mediation (.2); participate in
                        portion of meeting with PSZJ and J. Bair re ongoing
                        case issues and next-steps (.3);
3/30/2023 Jesse Bair    Review various correspondence with J. Stang, state             0.20     $125.00
                        court counsel, and the Committee re denial of the
                        motion to stay, potential judicial mediator, and case
                        next-steps (.2);
3/30/2023 Brian Cawley Begin outlining memorandum re recent BSA decision               3.10   $1,302.00
                        in connection with insurance issues relevant to DRVC
                        case (2.9); participate in conference with J. Bair re
                        questions regarding same (.2);
3/31/2023 Timothy Burns Review correspondence with PSZJ and state court                0.20     $195.00
                        counsel re upcoming Chambers conference re
                        mediation issues (.2);
3/31/2023 Jesse Bair    Review the Parishes' response to the Committee's               0.20     $125.00
                        preliminary injunction opposition (.1); analyze insurance
                        issues in connection with same (.1);
3/31/2023 Jesse Bair    Review the Diocese's reply in support of its 9th               0.40     $250.00
                        omnibus claims objection (.4);
3/31/2023 Brian Cawley Continue drafting memorandum summarizing recent                 3.60   $1,512.00
                        BSA decision in connection with insurance issues
                        relevant to DRVC case (3.6);
3/31/2023 Jesse Bair    Review the Diocese's and LMI's joint status update             0.10      $62.50
                        letter to Judge Cronan (.1);
3/31/2023 Jesse Bair    Review state court counsel joinders in support of the          0.10      $62.50
                        Committee's motion to dismiss (.1);
3/31/2023 Jesse Bair    Review K. Dine email memorandum re outcome of                  0.20     $125.00
                        recent conference with the Court and the Diocese (.1);
                        review correspondence with state court counsel and
                        the Committee re same and next-steps (.1);
Total Hours and Fees                                                                  105.50 $69,618.00
                 Timekeeper Summary
Name                  Hours              Rate                  Amount
Alyssa Turgeon         0.20           $360.00                    $72.00
Brenda Horn            0.80           $360.00                   $288.00
Brian Cawley          18.10           $420.00                 $7,602.00
Jesse Bair            58.50           $625.00                $36,562.50
Leakhena Au            3.60           $420.00                 $1,512.00
Nathan Kuenzi          0.20           $420.00                    $84.00
Timothy Burns         24.10           $975.00                $23,497.50



                                      Total Due This Invoice: $69,618.00
